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           3:16-md-02741-VC    Document
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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                                       MDL No. 2741



                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −66)



On October 3, 2016, the Panel transferred 19 civil action(s) to the United States District Court for
the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 214 F.Supp.3d 1346 (J.P.M.L. 2016). Since that time, 296 additional action(s)
have been transferred to the Northern District of California. With the consent of that court, all such
actions have been assigned to the Honorable Vince Chhabria.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of California and assigned to
Judge Chhabria.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of California for the reasons stated in the order of October 3, 2016, and, with the
consent of that court, assigned to the Honorable Vince Chhabria.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of California. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:


              Jan 24, 2018
                                                       Jeffery N. Lüthi
                                                       Clerk of the Panel          I hereby certify that the annexed
                                                                                 instrument is a true and correct copy
                                                                                   of the original on file in my office.

                                                                             ATTEST:
                                                                             SUSAN Y. SOONG
                                                                             Clerk, U.S. District Court
                                                                             Northern District of California


                                                                                 by:
                                                                                            Deputy Clerk
                                                                                 Date: 24 January 2018
     Case
    Case
      Case4:17-cv-00602-DCB
         3:16-md-02741-VC    Document
            MDL No. 2741 Document
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IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                   MDL No. 2741



                   SCHEDULE CTO−66 − TAG−ALONG ACTIONS



 DIST      DIV.       C.A.NO.         CASE CAPTION


ARIZONA

  AZ         2        17−04602        Palaschak et al v. Monsanto Company
  AZ         2        17−04603        Rios et al v. Monsanto Company
  AZ         3        17−08266        Bell v. Monsanto Company
  AZ         4        17−00600        Lundy et al v. Monsanto Company
  AZ         4        17−00602        Winters v. Monsanto Company

ARKANSAS EASTERN

  ARE        4        18−00023        Windle et al v. Monsanto Company   Opposed 1/23/18

DELAWARE

  DE         1        18−00080        Shible v. Monsanto Company   Opposed 1/22/18
